UNITED STATES OF AMERICA,

VS.

RICHARD BAYNE ,
ROBERT LES'I‘ER,

Case 2:05-cr-20167-SH|\/| Document 42 Filed 07/14/05 Page 1 of 2 Page|D 36

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IN TH:E: UNITED sTATEs DISTRICT coURT m "'"'

FoR THF.. wEsTERN DISTRICT oF TENNESSEE _
wEsTERN D:l:vIsIoN 05 JUL 114 AH|| Ul\

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WD 0§~" 251 ?=AEMPHB
Plaintiff,

CR. NO. 05-20167-Ma

VVVV\_J\_/VV~_»W

Defendants.

 

OR.DER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELA'Y

 

This cause came on for' a report date on. June 24, 2005.

Defense counsel requested a continuance of the present trial date

in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the

rotation docket beginning September 6, 2005 at 9:30 a.m., with a

report date of Friday, August 26, 2005 at 2:00 p.m.

The period from June 24, 2005 through September l6, 2005 is

excludable under 18 U.S.C. § 3161(h}(8)(B)(iv) because the

interests

of justice in allowing additional time to prepare

outweigh the need for a speedy trial.

IT IS SO ORDERED this ls ` day of July, 2005.

JA/M___

SAMUEL H. M.AYS, JR.
UNITED S'I‘ATES DISTRICT JUDGE

 

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t e 55 and/or a2;b) sqch on 2 - 15 ~ Q'__S d/c-‘»Z.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 42 in
case 2:05-CR-20167 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

